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Attorneys for Plaintiff Ohio Security Insurance
Company




                                       UNITED STATES DISTRICT COURT

                                              DISTRICT OF OREGON

                                               PORTLAND DIVISION


OHIO SECURITY INSURANCE                                      Civil No.: __________
COMPANY,

                                         Plaintiff,          COMPLAINT FOR DECLARATORY
                                                             JUDGMENT
            v.

PDX NAILS LLC; HAI NGUYEN; TAM
NGUYEN; and S.R.,

                                         Defendants.


            Plaintiff Ohio Security Insurance Company (“Plaintiff”) hereby alleges as follows:

                                                  INTRODUCTION

            1.             This is an action for declaratory relief and judgment pursuant to 28 U.S.C.

§§ 2201 and 2202. Plaintiff Ohio Security Insurance Company (“OSIC”) seeks a declaration

of its rights and obligations as to Defendants Hai Nguyen and Tam Nguyen, individually, and

d/b/a PDX NAILS LLC (“PDX NAILS”), and S.R. under a certain policy of insurance issued
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by OSIC. The matter that gives rise to OSIC seeking such a declaration is an underlying

lawsuit that was filed against Hai Nguyen, Tam Nguyen and PDX NAILS wherein the

underlying plaintiff, “S.R.,” alleges that she contracted herpes while having her nails done at

PDX NAILS.

                                                   PARTIES

            2.           Plaintiff OSIC is a New Hampshire corporation engaged in the business of

insurance. OSIC’s principal place of business is in Boston, Massachusetts.

            3.           Defendant Tam Nguyen is listed as the manager and registered agent of PDX

NAILS on the State of Oregon Business Registry and as owner of PDX NAILS in its Articles

of Incorporation, and on information and belief, is a resident of the State of Oregon.

            4.           Defendant Hai Nguyen is listed as a member of PDX NAILS on the State of

Oregon Business Registry and an owner of PDX Nails on its Articles of Incorporation, and

on information and belief, is a resident of the State of Oregon.

            5.           Defendant PDX NAILS LLC is an Oregon Limited Liability Company with its

principal place of business located at 2532 S.E. 122 nd Avenue, Portland, in Multnomah

County, Oregon. PDX NAILS operated as a nail salon in two locations located in Portland,

Oregon – 11946 N.E. Glisan, and 2532 S.E. 122 nd.

            6.           Defendant “S.R.” is alleged to be a 23-year-old female resident of Clackamas

County, Oregon. S.R. is the plaintiff in an action pending against the Nguyens and PDX

NAILS in the Circuit Court for Multnomah County, Oregon, entitled S.R. v. PDX NAILS,

LLC, an Oregon Limited Liability Company, TAM NGUYEN and HAI NGUYEN, Case

No. 24CV11180 (the “Underlying Lawsuit”).


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            7.           S.R. is named herein for the purpose of having the judgment, decisions, and

orders of the Court in the instant action be binding upon her.

            8.           At all times material, Defendant Tam Nguyen was the authorized

representative and manager for PDX NAILS; see PDX Nails Corporate Filings dated

January 6, 2020, and Amended Annual Reports dated December 7, 2022, and December 12,

2023, copies of which are attached hereto collectively as “Exhibit A.”

            9.           At all times material, Defendant Hai Nguyen was a member of PDX NAILS

LLC; see PDX NAILS Corporate Filing dated January 6, 2020, and Amended Annual

Reports dated December 7, 2022, and December 12, 2023, copies of which are attached

hereto collectively as “Exhibit A.”

            10.          PDX NAILS LLC is a successor name for PDX NAILS with the same

principals as members and owners and operating at the same locations as PDX NAILS. See

Assumed Business Name – Cancellation Registry Number 1596735-90 dated January 6,

2020, with the Oregon Secretary of State and attached hereto as “Exhibit B.”

                                         JURISDICTION AND VENUE

            11.          This is a proceeding for declaratory relief pursuant to Title 28 of the United

States Code, § 2201, et seq., to determine the scope of the respective rights, duties and

obligations, if any, of OSIC as to PDX NAILS, Tam Nguyen and Hai Nguyen under certain

contracts of insurance with respect to the Underlying Lawsuit.

            12.          Jurisdiction for this proceeding is proper in federal court pursuant to 28 U.S.C.

§ 1332(a)(1) and (c)(1) because the parties are citizens of different States and the amount in

controversy exceeds $75,000, exclusive of interest and costs.


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            13.          Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part

of the events giving rise to this Complaint for Declaratory Judgment allegedly occurred in

this district. The proper “divisional venue” for this action is in the Portland Division,

pursuant to 28 U.S.C. § 117 and Civil Practice Local Rule 3-2, as a substantial part of the

events or omissions giving rise to this claim occurred within Multnomah County.

            14.          An actual controversy exists between the parties as to whether OSIC has a

duty to defend or indemnify any of PDX NAILS, Tam Nguyen, Hai Nguyen or S.R with

respect to the Underlying Lawsuit.

                                          FACTUAL BACKGROUND

A.          The Underlying Lawsuit

            15.          On March 5, 2024, underlying Plaintiff S.R. filed her complaint in the

Underlying Lawsuit (the underlying “Complaint”) against PDX NAILS, Tam Nguyen and

Hai Nguyen in Multnomah County Circuit Court. A copy of the Complaint is attached

hereto as “Exhibit C.” Plaintiff is seeking in excess of $1.75 million in damages, fees and

costs.

            16.          In the Complaint, the Plaintiff alleges that during a June 1, 2023, manicure at

the Glisan Street location of PDX NAILS, a technician in the employ of and in the course

and scope of work for PDX NAILS did not wear gloves and used unsanitary equipment to

apply S.R.’s acrylic nails. She alleges this equipment was not disinfected and, as a result,

she developed redness and inflammation around her left index finger and cuticle. Following

the onset of inflammation, S.R. alleges she visited an urgent care clinic where her finger was

swabbed and the sample sent for culture. Plaintiff claims she was eventually diagnosed with

Herpes Simplex Virus 2 (HSV 2) – Genital Herpes, or Herpetic Whitlow, on her finger.
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            17.          The Plaintiff alleges that she did not have Herpes prior to her PDX NAILS

procedure and developed it around her nail area and on her fingers following her manicure at

PDX NAILS by a PDX NAILS technician.

            18.          The Plaintiff alleges that as a result of contracting an incurable virus, she will

continue to experience outbreaks and must wear bandaging to prevent the spread of the virus.

            19.          Plaintiff alleges that as a result of contracting an incurable virus, she

experienced and continues to experience emotional distress, worry, anguish and concern over

“future ramifications” for her, any partners and future children.

            20.          The summary of Plaintiff’s counts is that she contracted a communicable

disease in the form of an incurable Herpes virus from the unsanitary conditions and

equipment in the PDX NAILS salon, that she was injured as a result and seeks financial

compensation from PDX NAILS, Tam Nguyen and Hai Nguyen for these injuries.

                   First Claim for Relief – Count One: Common Law Negligence – Herpes
                   Simplex Virus 2 and Herpetic Whitlow (against PDX NAILS).

            21.          The first claim for relief for negligence alleges that PDX NAILS and its agents

knew or should have known of the risk of harm posed to the Plaintiff by not maintaining

clean equipment or wearing gloves and of the risk of infection in trimming and cutting nails

and cuticles. The allegations are that PDX NAILS fell below the standard of care applicable

to nail salons, were negligent, and unreasonably created a foreseeable risk of harm to S.R. by

failing to properly sanitize manicure equipment including that used on S.R.; failing to track

clean and used equipment; failing to properly store equipment including that used on S.R.,

failing to require technicians to wear gloves; and failing to prevent the HSV 2 that S.R.



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incurred and, that as a directly foreseeable result, S.R. contracted HSV 2 and Herpetic

Whitlow.

                   Count Two: Negligent Training and Supervision (against Tam Nguyen and
                   Hai Nguyen).

            22.          Plaintiff alleges that as members, owners and managers of PDX NAILS, the

Nguyens are responsible for training and supervision of the nail technicians and were aware

of the risk of harm to S.R. in not maintaining clean equipment, not requiring nail technicians

to wear gloves and the dangers of infection when trimming and cutting nails and cuticles, and

had been issued a fine for failing to disinfect and clean tools and equipment.

            23.          Plaintiff alleges that the Nguyens fell below the standard of care applicable to

nail salon owners, were negligent and created an unreasonable and foreseeable risk of harm

to S.R. by failing to train employees to properly sanitize and store manicure tools and

implements, not maintaining clean manicure equipment, failing to install an appropriate

policy for employees and nail technicians to properly sanitize and store manicure tools;

failing to train employees to properly track used equipment from clean equipment and failing

to train employees on infectious disease prevention including not over trimming and cutting

cuticles during a manicure.

            24.          Plaintiff alleges that as a directly foreseeable result of the Nguyens’

negligence, S.R. contracted HSV 2 and Herpetic Whitlow which would not have happened in

the absence of their negligence.

                   Count Three: Negligence Per Se (against PDX NAILS).

            25.          Plaintiff alleges PDX NAILS and its agents failed to adhere to all applicable

regulations within OAR Chapter 817, Division 10 (Safety and Infection Control), specifically

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OAR 817-010-0068, by not ensuring properly sterilized equipment, OAR 817-0075, by not

ensuring proper clean storage of equipment, resulting in S.R. contracting HSV 2 and

Herpetic Whitlow which would not have happened in the absence of the above violations.

                   Second Claim for Relief: Unlawful Trade Practice – ORS 646.638 (against
                   PDX NAILS).

            26.          Plaintiff alleges PDX NAILS willfully violated ORS 646.638 which provides

a private right of action for violation of ORS 646.608.

            27.          Plaintiff alleges PDX NAILS willfully violated the above provisions by falsely

representing to clients that they adhere to strict sanitation protocols and have a safe and

hygienic environment for their clients, including S.R., and that as a direct and foreseeable

result S.R. is entitled to recover for her injuries and damages as alleged in the Complaint

(specifically, contracting HSV 2, Herpetic Whitlow, emotional distress, pain, bodily injury,

worry and anguish over her incurable infection and risks to future partners and children).

            Defense Under a Reservation of Rights

            28.          OSIC has been, and continues to defend PDX Nails, and Hai and Tam Nguyen

under a reservation of rights. Attached hereto as “Exhibit D” is a copy of a Reservation of

Rights Letter, dated June 28, 2024.

B.          The Insurance Policy

            29.          OSIC issued Commercial Protector package policy number BZS (24) 64 70 94

77 (the “Policy”) to Hai Nguyen d/b/a PDX NAILS with effective dates of April 21, 2023,

through April 21, 2024. A certified copy of the policy is attached hereto as “Exhibit E.”

            30.          The Policy is subject to a Businessowners Coverage Form (No. BP 00 03 07

13) which contains the following relevant coverage grant:

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                                      BUSINESSOWNERS COVERAGE FORM
                        (BP 00 03 07 13 Insurance Services Office, Inc., 2012 Pages
                                                 1 of 61)
                        Various provisions in this policy restrict coverage.
                        Read the entire policy carefully to determine rights,
                        duties and what is and is not covered.
                        Throughout this Coverage Form the words "you" and
                        "your" refer to the Named Insured shown in the
                        Declarations. The words "we", "us" and "our" refer to
                        the company providing this insurance.
                        In Section II - Liability, the word "insured" means any
                        person or organization qualifying as such under
                        Paragraph C. Who Is An Insured.
                        Other words and phrases that appear in quotation
                        marks have special meaning. Refer to Paragraph H.
                        Property Definitions in Section I - Property and
                        Paragraph F. Liability And Medical Expenses
                        Definitions in Section II – Liability.
           ***

                        SECTION II - LIABILITY
                        A. Coverages
                               1. Business Liability
                                    a. We will pay those sums that the insured
                                       becomes legally obligated to pay as
                                       damages because of "bodily injury",
                                       "property damage" or "personal and
                                       advertising injury" to which this insurance
                                       applies. We will have the right and duty to
                                       defend the insured against any "suit"
                                       seeking those damages. However, we will
                                       have no duty to defend the insured against
                                       any "suit" seeking damages for "bodily
                                       injury", "property damage" or "personal and
                                       advertising injury" to which this insurance
                                       does not apply. We may, at our discretion,
                                       investigate any "occurrence" or any offense
                                       and settle any claim or "suit" that may result.
                                       But:
                                       (1) The amount we will pay for damages is
                                           limited as described in Paragraph D.
                                           Liability And Medical Expenses Limits Of
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                                           Insurance in Section II - Liability; and
                                        (2) Our right and duty to defend end when
                                            we have used up the applicable Limit of
                                            Insurance in the payment of judgments or
                                            settlements or medical expenses.
                         No other obligation or liability to pay sums or perform
                         acts or services is covered unless explicitly provided
                         for under Paragraph f. Coverage Extension -
                         Supplementary Payments.
            ***

The Businessowners Coverage Form contains the following exclusions:

                         B. Exclusions
                                1. Applicable To Business Liability Coverage
                         This insurance does not apply to:
            ***

                                     b. Contractual Liability
                         "Bodily injury" or "property damage" for which the
                         insured is obligated to pay damages by reason of the
                         assumption of liability in a contract or agreement. This
                         exclusion does not apply to liability for damages:
                                        (1) That the insured would have in the
                                            absence of the contract or agreement; or
                                        (2) Assumed in a contract or agreement that
                                            is an "insured contract", provided the
                                            "bodily injury" or "property damage"
                                            occurs subsequent to the execution of
                                            the contract or agreement. Solely for the
                                            purposes of liability assumed in an
                                            "insured contract", reasonable attorneys’
                                            fees and necessary litigation expenses
                                            incurred by or for a party other than an
                                            insured are deemed to be damages
                                            because of "bodily injury" or "property
                                            damage", provided:
                                           (a) Liability to such party for, or for the
                                               cost of, that party’s defense has also
                                               been assumed in the same "insured
                                               contract"; and

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                                          (b) Such attorney fees and litigation
                                              expenses are for defense of that party
                                              against a civil or alternative dispute
                                              resolution proceeding in which
                                              damages to which this insurance
                                              applies are alleged.
           ***

                        j. Professional Services
                        "Bodily injury", "property damage" or "personal and
                        advertising injury" caused by the rendering or failure to
                        render any professional service. This includes but is
                        not limited to:
                                       (1) Legal,    accounting    or    advertising
                                           services;
                                       (2) Preparing, approving, or failing to
                                           prepare or approve maps, drawings,
                                           opinions, reports, surveys, change
                                           orders, designs or specifications;
                                       (3) Supervisory, inspection or engineering
                                           services;
                                       (4) Medical, surgical, dental, X-ray or
                                           nursing services treatment, advice or
                                           instruction;
                                       (5) Any health or therapeutic service
                                           treatment, advice or instruction;
                                       (6) Any service, treatment, advice or
                                           instruction for the purpose of appearance
                                           or skin enhancement, hair removal or
                                           replacement or personal grooming;
                                       (7) Optometry or optical or hearing aid
                                           services including the prescribing,
                                           preparation, fitting, demonstration or
                                           distribution of ophthalmic lenses and
                                           similar products or hearing aid devices;
                                       (8) Body piercing services; and
                                       (9) Services in the practice of pharmacy.
                                    This exclusion applies even if the claims allege
                                    negligence or other wrongdoing in the
                                    supervision, hiring, employment, training or
                                    monitoring of others by an insured, if the
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                                    "occurrence" which caused the "bodily injury" or
                                    "property damage", or the offense which caused
                                    the "personal and advertising injury", involved
                                    the rendering or failure to render of any
                                    professional service.

           31.          The Policy contains the following “Who is An Insured” provision:

                        C. Who Is An Insured
                               1. If you are designated in the Declarations as:
                                    a. An individual, you and your spouse are
                                       insureds, but only with respect to the
                                       conduct of a business of which you are the
                                       sole owner.
                                    b. A partnership or joint venture, you are an
                                       insured. Your members, your partners and
                                       their spouses are also insureds, but only with
                                       respect to the conduct of your business.
                                    c. A limited liability company, you are an
                                       insured. Your members are also insureds,
                                       but only with respect to the conduct of your
                                       business. Your managers are insureds, but
                                       only with respect to their duties as your
                                       managers.
                                    d. An organization other than a partnership,
                                       joint venture or limited liability company, you
                                       are an insured. Your "executive officers" and
                                       directors are insureds, but only with respect
                                       to their duties as your officers or directors.
                                       Your stockholders are also insureds, but
                                       only with respect to their liability as
                                       stockholders.
                                    e. A trust, you are an insured. Your trustees are
                                       also insureds, but only with respect to their
                                       duties as trustees.
                               2. Each of the following is also an insured:
                                    a. Your "volunteer workers" only while
                                       performing duties related to the conduct of
                                       your business, or your "employees", other
                                       than either your "executive officers" (if you
                                       are an organization other than a partnership,
                                       joint venture or limited liability company) or
                                       your managers (if you are a limited liability
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                                      company), but only for acts within the scope
                                      of their employment by you or while
                                      performing duties related to the conduct of
                                      your business. However, none of these
                                      "employees" or "volunteer workers" are
                                      insureds for:
                                      (1) "Bodily injury" or       "personal     and
                                          advertising injury":
                                         (a) To you, to your partners or members
                                             (if you are a partnership or joint
                                             venture), to your members (if you are
                                             a limited liability company), or to a co-
                                             "employee" while in the course of his
                                             or her employment or performing
                                             duties related to the conduct of your
                                             business, or to your other "volunteer
                                             workers" while performing duties
                                             related to the conduct of your
                                             business;
                                         (b) To the spouse, child, parent, brother
                                             or sister of that co-"employee" as a
                                             consequence of Paragraph (a)
                                             above;
                                         (c) For which there is any obligation to
                                             share damages        with or repay
                                             someone else        who must pay
                                             damages because        of the injury
                                             described in Paragraph (a) or (b); or
                                         (d) Arising out of his or her providing or
                                             failing to provide professional health
                                             care services.
                                      (2) "Property damage" to property:
                                         (a) Owned, occupied or used by;
                                         (b) Rented to, in the care, custody or
                                             control of, or over which physical
                                             control is being exercised for any
                                             purpose     by;   you, any of your
                                             "employees", "volunteer workers",
                                             any partner or member (if you are a
                                             partnership or joint venture), or any
                                             member (if you are a limited liability
                                             company).
                                    b. Any person (other than your "employee" or
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                                        "volunteer worker"), or any organization
                                        while acting as you real estate manager.
                                     c. Any person or organization having proper
                                        temporary custody of your property if you
                                        die, but only:
                                        (1) With respect to liability arising out of the
                                            maintenance or use of that property; and
                                        (2) Until your legal representative has been
                                            appointed.
                                     d. Your legal representative if you die, but only
                                        with respect to duties as         such. That
                                        representative will have all your rights and
                                        duties under this policy.
                                No person or organization is an insured with
                                respect to the conduct of any current or past
                                partnership, joint venture or limited liability
                                company that is not shown as a Named Insured in
                                the Declarations.

            32.          The Policy also contains a Barber/Styling Salon Professional Liability

Endorsement (No. BP 79 02 06 09) which provides an additional coverage grant for certain

specified professional services. That endorsement modifies coverage under the

Businessowners Coverage Form and contains the following pertinent language:

                         I. Section II - Liability is amended as follows:
                                A. Paragraph A. Coverages also applies to "bodily injury",
                                   "property damage" or "personal and advertising injury"
                                   arising out of the rendering of or failure to render
                                   professional services in connection with the operation
                                   of your business as a Day Spa, Nail Salon, Barber
                                   Shop or Beauty Salon, including treatment, advice or
                                   instruction for the purposes of appearance or skin
                                   enhancement or personal grooming or therapy.
            ***

                                C. Item B.1. of Exclusions is modified as follows:
                                     1. Paragraph 1.b. Contractual Liability is replaced by
                                        the following:
                                        This insurance does not apply to:
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                                       b. "Bodily injury", "property damage", "personal
                                          and advertising injury" or other injury for which
                                          the insured is obligated to pay damages by
                                          reason of the assumption of liability in a contract
                                          or agreement. This exclusion does not apply to
                                          liability for damages that the insured would have
                                          in the absence of the contract or agreement.
                                    2. Exclusion j., k.(6) and m. do not apply to beautician,
                                       manicurist or barber services nor to an insured
                                       doing business as a Day Spa, Nail Salon, Beauty
                                       Shop or Barber Shop.
                               D. The following are added to Exclusions:
                                    This insurance does not apply to "bodily injury",
                                    "property damage", "personal and advertising injury" or
                                    other injury arising out of:
                                    1. Products:
                                       a. Manufactured;
                                       b. Prepared;
                                       c. Rebottled; or
                                       d. Repacked
                                           by you or sold under your label for use away
                                           from the premises to which this insurance
                                           applies.
                                    2. The violation of any statute or governmental rule or
                                       regulation; however, this exclusion does not apply
                                       to the failure to perform a predisposition of skin test.
                                    3. Any equipment or process used to change the
                                       pigmentation of the skin.
                                    4. Body massage (other than facial, hand or foot
                                       massage).
                                    5. Any medical or surgical service, treatment, advice
                                       or instruction, including, but not limited to podiatry,
                                       chiropody, plastic surgery, face lifting, removal of
                                       warts, moles or growths or any attempt at these by
                                       anyone.
                                    6. The attachment of eyelash extensions by means of
                                       bonding extensions to individual eye lashes.
                                    7. Failure to comply with the manufacturers’
                                       instructions related to the care, cleaning and
                                       maintenance of any equipment used in connection
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                                       with your business.
                                    8. Any process or procedure used to remove hair,
                                       other than waxing or manual tweezing or cutting.
                                    9. The use, administration or application of any dye to
                                       eyelashes or eyebrows except mascara or eyebrow
                                       pencils.
                                    10. The operation of a training school or course of
                                        instruction in beauty culture or barbering.
                                    11. Hair Implanting or hair transplanting or any attempt
                                        at these.
                                    12. Body piercing (other than ear piercing).
                                    13. Tattooing, including, but not limited to the insertion
                                        of pigment into or under the skin.
                                    14. Any process or procedure, other than topical
                                        enzyme exfoliation, used to remove layers of skin
                                        including, but not limited to chemical peels, Intense
                                        Pulsed Light therapy or laser therapy.
                                    15. The furnishing or dispensing of drugs, supplements
                                        or medical, dental or surgical supplies or
                                        appliances.
                                    16. Any service, treatment, advice or instruction
                                        relating to physical fitness, including service,
                                        treatment, advice or instruction in connection with
                                        diet, cardio-vascular fitness, body building or
                                        physical training programs.
                               E. Paragraph C. Who Is An Insured is amended as follows:
                                    1. Paragraph 2.a. is replaced by the following:
                                    2. Each of the following is also an insured:
                                       a. Your "employees", other than either your
                                          "executive officers" (if you are an organization
                                          other than a partnership, joint venture or limited
                                          liability company) or your managers (if you are
                                          a limited liability company), but only for acts
                                          within the scope of their employment by you or
                                          while performing duties related to the conduct of
                                          your business. However, none of these
                                          "employees" is an insured for:
                                           (1) "Bodily injury", "personal and advertising
                                               injury" or other injury:
                                              (a) To you, to your partners or members (if
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                                                 you are a partnership or joint venture), to
                                                 your members (if you are a limited liability
                                                 company), or to a co- "employee" while
                                                 that co-"employee" is either in the course
                                                 of his or her employment or performing
                                                 duties related to the conduct of your
                                                 business;
                                             (b) To the spouse, child, parent, brother or
                                                 sister of that co-"employee" as a
                                                 consequence of Paragraph (1)(a) above;
                                             (c) For which there is any obligation to share
                                                 damages with or repay someone else
                                                 who must pay damages of the injury
                                                 described in Paragraph (1)(a) or (1)(b);
                                                 or
                                          (2) "Bodily injury", "property damage", "personal
                                              and advertising injury" or other injury arising
                                              out of his or her providing or failing to provide
                                              professional services. However, your
                                              "employees" are insureds with respect to
                                              their providing or failing to provide services
                                              as a manicurist, barber or beautician in
                                              connection with your business.
                                          (3) "Property damage" to property:
                                             (a) Owned, occupied or used by;
                                             (b) Rented to, in the care, custody or control
                                                 of, or over which physical control is being
                                                 exercised for any purpose by: you, any of
                                                 your "employees", any partner or
                                                 member (if you are a partnership or joint
                                                 venture), or any member (if you are a
                                                 limited liability company).
                                    2. The following is added to Paragraph 2:
                                       e. Any operator who rents or leases from the
                                          insured booth space, chairs or any portion of
                                          your premises for the purpose of conducting
                                          manicurist, barber shop or beauty salon
                                          services and any "employee" of such operator,
                                          but only with respect to liability arising out of
                                          such services.
                               F. Paragraph D.2. Liability And Medical Expenses Limits
                                  Of Insurance is replaced by the following:

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                                     2. The most we will pay for the sum of all damages
                                        because of all:
                                        a. "Bodily injury, "property damage" and medical
                                           expenses arising out of any one "occurrence";
                                        b. "Personal and advertising injury" sustained by
                                           any one person or organization arising out of
                                           any one "occurrence"; and
                                        c. Other injury arising out of any one "occurrence";
                                        is the Liability and Medical Expenses limit shown in
                                        the Declarations. But the most we will pay for all
                                        medical expenses because of "bodily injury"
                                        sustained by any one person is the Medical
                                        Expenses limit shown in the Declarations.
                                G. For the coverage provided by this endorsement, the
                                   definition of "occurrence" in Paragraph F. Liability and
                                   Medical Expenses Definitions is amended to include
                                   any act or omission arising out of the rendering or
                                   failure to render services as a manicurist, barber or
                                   beautician.

            33.          The Policy is modified by the Communicable Disease Exclusion (BP 14 86 07

13) endorsement, which contains the following relevant language which modifies coverage

under the Businessowners Coverage Form:

                         COMMUNICABLE DISEASE EXCLUSION
                         This endorsement modifies insurance provided under
                         the following:
                                     BUSINESSOWNERS COVERAGE FORM
                         The following exclusion is added to Paragraph B.
                         Exclusions in Section II – Liability:
                                Communicable Disease
                                This insurance does not apply to “bodily injury” …
                                arising out of the actual or alleged transmission of
                                a communicable disease.
                                This exclusion applies even if the claims against
                                any insured allege negligence or other wrongdoing
                                in the:
                                a. Supervising, hiring, employing, training or
                                   monitoring of others that may be infected with
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                                     and spread a communicable disease;
                                b. Testing for a communicable disease;
                                c. Failure to prevent the spread of the disease; or
                                d. Failure to report the disease to authorities.
            34.          The Policy also contains several pertinent Defined Terms: “Section F.

Liability and Medical Expenses Definitions:”

                                3. “Bodily injury" means bodily injury, sickness or
                                   disease sustained by a person, including death
                                   resulting from any of these at any time.
            ***

                                5. "Employee" includes a "leased worker".
                                   "Employee" does not include a "temporary
                                   worker".
            ***

                                9. "Insured contract" means:
                                     a. A contract for a lease of premises. However,
                                        that portion of the contract for a lease of
                                        premises that indemnifies any person or
                                        organization for damage by fire to premises
                                        while rented to you or temporarily occupied
                                        by you with permission of the owner is not an
                                        "insured contract";
                                     b. A sidetrack agreement;
                                     c. Any easement or license agreement, except
                                        in connection with construction or demolition
                                        operations on or within 50 feet of a railroad;
                                     d. An obligation, as required by ordinance, to
                                        indemnify a municipality, except in
                                        connection with work for a municipality;
                                     e. An elevator maintenance agreement;
                                     f. That part of any other contract or agreement
                                        pertaining to your business (including an
                                        indemnification of a municipality in
                                        connection with work performed for a
                                        municipality) under which you assume the
                                        tort liability of another party to pay for "bodily
                                        injury" or "property damage" to a third person
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                                      or organization. Tort liability means a liability
                                      that would be imposed by law in the absence
                                      of any contract or agreement.
                                      Paragraph f. does not include that part of
                                      any contract or agreement:
                                      (1) That indemnifies a railroad for "bodily
                                          injury" or "property damage" arising out
                                          of construction or demolition operations,
                                          within 50 feet of any railroad property and
                                          affecting any railroad bridge or trestle,
                                          tracks, roadbeds, tunnel, underpass or
                                          crossing;
                                      (2) That indemnifies an architect, engineer
                                          or surveyor for injury or damage arising
                                          out of:
                                         (a) Preparing, approving or failing to
                                             prepare or approve maps, drawings,
                                             opinions, reports, surveys, change
                                             orders, designs or specifications; or
                                         (b) Giving directions or instructions, or
                                             failing to give them, if that is the
                                             primary cause of the injury or
                                             damage; or
                                      (3) Under which the insured, if an architect,
                                          engineer or surveyor, assumes liability
                                          for an injury or damage arising out of the
                                          insured’s rendering or failure to render
                                          professional services, including those
                                          listed in Paragraph (2) above and
                                          supervisory, inspection or engineering
                                          services.
            ****

                                13. "Occurrence" means an accident, including
                                   continuous    or  repeated  exposure     to
                                   substantially the same general harmful
                                   conditions.

            35.          Lastly, the Policy contains Businessowners Liability Extension Endorsement

(No. BP 79 96 09 16) which modifies the Businessowners Coverage Form as follows:


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                        F. Newly Formed Or Acquired Organizations
                               The following is added to Section C. Who Is An Insured:
                               Any business entity acquired by you or incorporated or
                               organized by you under the laws of any individual state of
                               the United States of America over which you maintain
                               majority ownership interest exceeding fifty percent. Such
                               acquired or newly formed organization will qualify as a
                               Named Insured if there is no similar insurance available to
                               that entity. However:
                               1. Coverage under this provision is afforded only until the
                                  180th day after the entity was acquired or incorporated
                                  or organized by you or the end of the policy period,
                                  whichever is earlier;
                               2. Section A.1. Business Liability does not apply to:
                                    a. "Bodily injury" or "property damage" that occurred
                                       before the entity was acquired or incorporated or
                                       organized by you; and
                                    b. "Personal and advertising injury" arising out of an
                                       offense committed before the entity was acquired
                                       or incorporated or organized by you.
                               3. Records and descriptions of operations must be
                                  maintained by the first Named Insured.
                               No person or organization is an insured with respect to the
                               conduct of any current or past partnership, joint venture or
                               limited liability company that is not shown as a Named
                               Insured in the Declarations.
           ***

                        I. Section F. Liability And Medical Expenses Definitions
                           is modified as follows:
                               1. Paragraph F.3. is replaced by the following:
                                    3. "Bodily Injury" means bodily injury, sickness,
                                       disease, or incidental medical malpractice injury
                                       sustained by a person, and includes mental
                                       anguish resulting from any of these; and including
                                       death resulting from any of these at any time.
                               2. Paragraph F.9. is replaced by the following:
                                    9. "Insured contract" means:
                                       a. A contract for a lease of premises. However,
                                          that portion of the contract for a lease of
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                                       premises that indemnifies any person or
                                       organization for damage by fire to premises
                                       while rented to you or temporarily occupied by
                                       you with permission of the owner is not an
                                       "insured contract";
                                    b. A sidetrack agreement;
                                    c. Any easement or license agreement, except in
                                       connection with construction or demolition
                                       operations on or within 50 feet of a railroad;
                                    d. An obligation, as required by ordinance, to
                                       indemnify a municipality, except in connection
                                       with work for a municipality;
                                    e. An elevator maintenance agreement;
                                    f. That part of any other contract or agreement
                                       pertaining to your business (including an
                                       indemnification of a municipality in connection
                                       with work performed for a municipality) under
                                       which you assume the tort liability of another
                                       party to pay for "bodily injury" or "property
                                       damage" to a third person or organization,
                                       provided the "bodily injury" or "property
                                       damage" is caused, in whole or in part, by you
                                       or by those acting on your behalf. However,
                                       such part of a contract or agreement shall only
                                       be considered an "insured contract" to the
                                       extent your assumption of the tort liability is
                                       permitted by law. Tort liability means a liability
                                       that would be imposed by law in the absence of
                                       any contract or agreement.
                                       Paragraph f. does not include that part of any
                                       contract or agreement:
                                       (1) That indemnifies a railroad for "bodily injury"
                                           or "property damage" arising out of
                                           construction or demolition operations, within
                                           50 feet of any railroad property and affecting
                                           any railroad bridge or trestle, tracks, road-
                                           beds, tunnel, underpass or crossing;
                                       (2) That indemnifies an architect, engineer or
                                           surveyor for injury or damage arising out of:
                                           (a) Preparing, approving, or failing to
                                               prepare or approve, maps, shop
                                               drawings, opinions, reports, surveys,
                                               field orders, change orders or drawings
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                                              and specifications; or
                                           (b) Giving directions or instructions, or failing
                                               to give them, if that is the primary cause
                                               of the injury or damage; or
                                       (3) Under which the insured, if an architect,
                                           engineer or surveyor, assumes liability for an
                                           injury or damage arising out of the insured’s
                                           rendering or failure to render professional
                                           services, including those listed in (2) above
                                           and supervisory, inspection, architectural or
                                           engineering activities.

            36.          The OSIC Policy contains other terms, conditions and exclusions that may

limit or preclude coverage for the Complaint in the Underlying Lawsuit.

                                         FIRST CLAIM FOR RELIEF

                              DECLARATORY RELIEF – DUTY TO DEFEND AND
                                       INDEMNIFY PDX NAILS

            37.          Plaintiff alleges and reincorporates by reference Paragraphs 1 through 36 as

though fully set forth herein.

            38.          PDX NAILS LLC, which is the entity named in this lawsuit, is not listed or

scheduled as a named or additional insured under OSIC’s Policy.

            39.          PDX NAILS LLC was not newly acquired or newly formed by PDX NAILS

or Hai Ngyuen or Tam Ngyuen during the policy period for OSIC’s Policy attached herein as

“Exhibit C.”

            40.          Even if PDX NAILS LLC was an insured, which OSIC contests, there is no

coverage for “bodily injury” under OSIC’s policy as the policy excludes coverage for

“bodily injury” arising out of the actual or alleged transmission of a communicable disease.




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            41.            S.R. alleges that she contracted an incurable communicable virus as a result of

unsanitary equipment and conditions at PDX NAILS when she was receiving a manicure at

the Glisan Street location.

            42.            OSIC’s Policy bars coverage for any tort liability assumed under a contract, so

to the extent PDX NAILS LLC has agreed in its incorporation documents filed with the

Secretary of State of Oregon to indemnify its owners and members from tort liability arising

out of PDX NAILS LLC, coverage is barred.

            43.            OSIC’s Policy covers “bodily injury,” “property damage,” “advertising injury”

and “personal injury” as those terms are defined and according to the terms and conditions,

exclusions and limitations of the Policy; to the extent that the Underlying Complaint alleges

recovery under private right of action for violation of ORS 646.608, et. seq., and

ORS 648.638, that claim does not trigger a duty to defend or indemnify under the OSIC

Policy.

            44.            OSIC’s Policy covers “damages” because of “bodily injury,” “property

damage,” advertising injury” and “personal injury” as those terms are defined and according

to the terms and conditions, limitations, exclusions and limitations of the Policy; to the extent

that the Underlying Complaint seeks a civil penalty under state statute, those are not

“damages” under the Policy and a duty to defend and indemnify is not triggered for PDX

NAILS LLC.

            45.            As OSIC’s Policy does not cover the “bodily injury” including emotional

distress damages and the civil penalties as a result of the private right of action remedy for

violation of Unfair Trade Practices against PDX NAILS LLC, OSIC does not have any duty

to indemnify PDX NAILS for any damages awarded as a result of the Underlying Lawsuit.
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                                        SECOND CLAIM FOR RELIEF

                              DECLARATORY RELIEF – DUTY TO DEFEND AND
                               INDEMNIFY HAI NYUGEN AND TAM NYUGEN

            46.          Plaintiff realleges and incorporates by reference Paragraphs 1 through 45 as

though fully set forth herein.

            47.          OSIC’s Policy excludes coverage for liability for “bodily injury” caused by the

rendering or failure to render any professional service, including but not limited to “any

service, treatment, advice or instruction for the purpose of appearance or skin enhancement,

hair removal or replacement or personal grooming,” even if the claims allege negligence or

wrongdoing in the supervision, hiring, employment, training or monitoring of others by an

insured, if the “occurrence” which caused the “bodily injury” involved the rendering or

failure to render any professional service.

            48.          Acrylic nail application using drill bits and other equipment constitutes

“personal grooming” which is performed by licensed and trained nail technicians under

Oregon law.

            49.          Hai Ngyuen and Tam Ngyuen’s liability for damages because of “bodily

injury” arising out of rendering or failure to render “personal grooming” is excluded under

the OSIC policy.

            50.          The Underlying Lawsuit alleges S.R. was infected with an incurable,

communicable virus (see, allegations she has to bandage her fingers to prevent the spread of

the virus) and suffered emotional distress, pain, bodily injury, worry and anguish which

would not have occurred but for her infection with the virus at the nail salon.



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            51.          The OSIC Policy excludes “bodily injury” (which per policy definition

includes “mental anguish…”) arising out of the actual or alleged transmission of a

communicable disease.

            52.          The OSIC Policy’s communicable disease exclusion applies to claims against

Hai Ngyuen and Tam Ngyuen for negligence or wrongdoing in the supervision, hiring,

employment, training, monitoring of others, testing for, failure to prevent and failure to

report a communicable disease to authorities.

            53.          As OSIC’s Policy excludes bodily injury including resulting emotional distress

and anguish alleged in the Underlying Lawsuit, OSIC has no duty to defend Hai Nguyen and

Tam Ngyuen against the allegations in the Underlying Lawsuit.

            54.          As OSIC’s Policy is not triggered by the Underlying Lawsuit, OSIC has no

duty to indemnify Hai Ngyuen or Tam Ngyuen for damages awarded as a result of

allegations in the Underlying Lawsuit.

            55.          For the reasons discussed above, and based on the terms of OSIC’s Policy and

the allegations of the Complaint in the Underlying Lawsuit, OSIC has no duty to defend

PDX NAILS, Hai Ngyuen or Tam Nguyen in connection with the Underlying Lawsuit.

            56.          Accordingly, OSIC seeks a judgment from this Court declaring that under the

terms of the OSIC Policy, OSIC has no duty to defend PDX NAILS, Hai Ngyuen or Tam

Nguyen in connection with the Underlying Lawsuit.

            57.          As a party to this action, S.R. is bound by the determination of this Court in

connection with the relief granted herein.

            58.          OSIC continues to reserve its rights to assert the terms, conditions, limitations

and exclusions of the OSIC Policy.
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                                           PRAYER FOR RELIEF

           1.           For a declaration that OSIC has no duty to defend PDX NAILS, Hai Ngyuen,

                        or Tam Nguyen in connection with the Underlying Lawsuit;

           2.           For OSIC’s costs and disbursements herein; and

           3.           For such other relief as the court deems just and proper.

           DATED: October 29, 2024


                                                     BULLIVANT HOUSER BAILEY PC



                                                     By:
                                                           Michael A. Guadagno, OSB #131676
                                                           Telephone: 503.228.6351

                                                           Attorneys for Plaintiff Ohio Security
                                                           Insurance Company




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